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                     Exhibit 1
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                                KYTCH TRIAL AGREEMENT




PLEASE READ ALL OF THE FOLLOWING TERMS OF USE CAREFULLY. THIS IS A
LEGAL AGREEMENT (“AGREEMENT”) BETWEEN YOU AND KYTCH, INC. STATING
THE TERMS AND CONDITIONS THAT GOVERN YOUR USE OF THE KYTCH
SOLUTION DURING THE TRIAL. IF YOU ARE ENTERING INTO THIS AGREEMENT
ON BEHALF OF A COMPANY OR LEGAL ENTITY, YOU REPRESENT THAT YOU
HAVE THE AUTHORITY TO BIND SUCH ENTITY TO THESE TERMS AND
CONDITIONS, IN WHICH CASE THE TERMS “YOU” AND “YOUR” SHALL REFER TO
SUCH ENTITY. BY SIGNING BELOW OR BY USING THE KYTCH SOLUTION, YOU
ARE AGREEING TO ALL OF THE TERMS AND CONDITIONS STATED HEREIN. IF
YOU DO NOT AGREE TO THESE TERMS, DO NOT SIGN BELOW AND YOU SHALL
NOT HAVE THE RIGHT TO ACCESS OR USE THE KYTCH SOLUTION.




A. Agreement Definitions


“Kytch” refers to Kytch, Inc. “You” and “your” refers to the individual or entity that has ordered
the Kytch Trial by having signed below or otherwise having used the Kytch Trial.


The terms “Kytch Trial,” or the “Trial,” means your use of the Kytch Solution during the Trial
Period solely for your internal evaluation and testing and not for commercial or production
purposes.


The term “Kytch Solution” or “Solution” refers to the hardware and software products owned or
distributed by Kytch and related cloud services, programs, technology platform and other
materials to which Kytch grants you access as part of the Trial, including user guides, and any
program updates provided as part of the Solution.


The term “users” means only your employees who have a reasonable need to have access to the
Kytch Solution solely for internal evaluation in connection with the Trial.




B. Trial Period




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This Agreement is effective on the Effective Date (defined below) and will terminate six (6)
months from the date Kytch ships you the Solution, unless earlier terminated (the “Trial
Period”). Certain Kytch Trials may permit you a one-time option to extend the Trial Period by an
additional thirty (30) days, by selecting that option on the Trial. If you would like to use the
Solution after the Trial Period, provided that Kytch has made the Solution commercially
available, you must purchase such Solution from Kytch.


If the Solution has been disconnected from the Kytch servers for a period of 3 days, or at the
conclusion of your Trial Period, you will either (i) immediately cease all use of the Solution, and
return the Solution (we will provide you with a free return label you may use), or (ii) promptly
purchase and pay for a subscription to the Solution (subject to our standard Kytch Terms of
Service) at our then-current monthly pricing (along with all other associated fees) from the Trial
end date, unless otherwise agreed in writing (for clarity, upon expiration or termination of any
such Solution subscription, your rights thereto shall cease and you shall then promptly return the
Solution to Kytch). If the Solution has not been returned within 5 days after the Trial end date or
date of disconnection from the Kytch servers, you will be considered to have purchased a
subscription to the Solution and you shall pay the full listed non-discounted price of such
Solution for the Trial Period. If you have submitted your credit card information, we will charge
your credit card.


At any time and without notice, Kytch reserves the right to (i) modify the terms and conditions of
the Trial offer, or (ii) cancel and terminate such Trial and this Agreement for any reason.


C. Rights Granted


For the duration of the Trial Period, you have the nonexclusive, nontransferable, non-assignable,
non-sublicensable limited right to use the Solution at the approved locations identified in Exhibit
A to this Agreement in accordance with Kytch’s documentation, subject to the terms of this
Agreement, and solely for your internal business purposes to evaluate Kytch’s Solution and not
for any production or commercial purposes. You may allow your users to use the Solution solely
for this purpose and you are responsible and liable for your users’ compliance with this
Agreement.


You do not acquire any right or license to use the Solution in excess of the scope and/or duration
of the Trial defined in this Agreement. Upon the termination or expiration of this Agreement or
the Trial Period, your right to access or use the Kytch Solution shall immediately terminate.




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D. Ownership and Restrictions


Kytch or its licensors retain all right, title and interest (including all intellectual property rights)
in and to the Kytch Solution, including all improvements, enhancements and derivative works
thereof, and anything else developed or provided by Kytch under this Agreement.


You shall not, and shall not cause or permit others to:


                •      remove or modify any Solution markings or any notice of Kytch’s or its
        licensors’ proprietary rights;
               •        modify, make derivative works of, disassemble, reverse compile, reverse
        engineer, reproduce, distribute or republish all or any part of the Solution, or otherwise
        access or use the Solution in order to build or support, and/or assist a third party in
        building or supporting, products or services competitive to any Kytch Solution;
               •      disclose results of any benchmark tests or performance tests of the Kytch
        Solution without Kytch’s prior written consent;
                •        perform or disclose any of the following security testing of the Solution
        (or associated systems, services or infrastructure): network discovery, port and service
        identification, vulnerability scanning, password cracking, remote access testing, or
        penetration testing; and
                •      license, sell, rent, lease, transfer, assign, distribute, display, host,
        outsource, disclose, permit timesharing or service bureau use, or otherwise commercially
        exploit or make the Kytch Solution available to (or use such Solution for the benefit of)
        any third party.

E. Disclaimers and Exclusion of Warranties


THE SOLUTION IS PROVIDED TO YOU ON AN “AS IS” AND “AS AVAILABLE” BASIS,
AND KYTCH HEREBY DISCLAIMS ALL EXPRESS OR IMPLIED REPRESENTATIONS,
WARRANTIES, GUARANTEES, AND CONDITIONS WITH REGARD TO (A) THE
SOLUTION, INCLUDING BUT NOT LIMITED TO SOFTWARE, HARDWARE, SYSTEMS,
NETWORKS OR ENVIRONMENTS AND (B) MERCHANTABILITY, SATISFACTORY
QUALITY, NONINFRINGEMENT, AND FITNESS FOR A PARTICULAR PURPOSE.




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KYTCH DOES NOT GUARANTEE THAT (A) THE SOLUTION WILL BE ERROR-FREE
OR UNINTERRUPTED, OR THAT KYTCH WILL CORRECT ALL ERRORS; (B) THE
SOLUTION WILL OPERATE IN COMBINATION WITH YOUR CONTENT OR YOUR
APPLICATIONS, OR WITH ANY OTHER SOFTWARE, HARDWARE, SYSTEMS, OR
DATA; (C) YOUR CONTENT AND YOUR APPLICATIONS WILL BE SECURE OR NOT
OTHERWISE LOST OR DAMAGED; AND (D) THE SOLUTION, INFORMATION OR
OTHER MATERIAL YOU OBTAIN OR PURCHASE FROM KYTCH UNDER THIS
AGREEMENT, WILL MEET YOUR REQUIREMENTS OR EXPECTATIONS. YOU
ACKNOWLEDGE THAT KYTCH DOES NOT CONTROL THE TRANSFER OF DATA
OVER COMMUNICATIONS FACILITIES, INCLUDING THE INTERNET, AND THAT THE
SOLUTION MAY BE SUBJECT TO LIMITATIONS, DELAYS, AND OTHER PROBLEMS
INHERENT IN THE USE OF SUCH COMMUNICATIONS FACILITIES. KYTCH IS NOT
RESPONSIBLE FOR ANY DELAYS, DELIVERY FAILURES, OR OTHER DAMAGE
RESULTING FROM SUCH PROBLEMS.


YOU AGREE TO INDEMNIFY KYTCH FROM ANY DAMAGES, LIABILITIES, COSTS
AND EXPENSES OR THE SETTLEMENT AGREED TO BY YOU, ARISING OUT OF OR
IN ANY WAY CONNECTED WITH ANY OF YOUR CONTENT OR APPLICATIONS OR
NON-KYTCH SOFTWARE OR TECHNOLOGY. KYTCH IS NOT RESPONSIBLE FOR THE
SECURITY OF ANY CONTENT, APPLICATION OR SOFTWARE THAT YOU LOAD
INTO OR CREATE WITHIN THE TRIAL ENVIRONMENT.


KYTCH RESERVES THE RIGHT TO MAKE CHANGES OR UPDATES TO THE KYTCH
SOLUTION AND TRIAL AT ANY TIME WITHOUT NOTICE. KYTCH MAY TERMINATE
THE TRIAL FOR ANY REASON, AT ANY TIME.


F. User Accounts


To use the Solution, you must have an Kytch.com account. Access to and use of password
protected or secure areas of the Trial site is restricted to authorized users only. You may not
share your password(s), account information, or access to the Trial site. You are responsible for
identifying and authenticating all users, for approving access by such users to the Solution, for
controlling against unauthorized access by users, and for maintaining the confidentiality of
usernames, passwords and account information. By federating or otherwise associating your and
your users’ Single Sign-On with Kytch, you accept responsibility for timely and proper
termination of user records in your local (intranet) identity infrastructure and on your local
computers. Kytch is not liable for any harm caused by users, including individuals who were not
authorized to have access to the Solution but who were able to gain access because usernames,
passwords or accounts were not terminated on a timely basis in your local identity management




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infrastructure or your local computers. You are responsible for all activities that occur under
your and your users’ passwords or accounts or as a result of your or your users’ access to the
Trial, and agree to notify Kytch immediately of any unauthorized use. You agree to make every
reasonable effort to prevent unauthorized third parties from accessing the Trial.


G. Support Services


The Kytch Trial provides an opportunity for current and potential Kytch customers to experience
Kytch Solution before purchasing the Solution. The Trial is provided as a convenience and you
agree that Kytch is not obligated to provide any technical support, phone support, or updates for
the Kytch Solution accessed or used within the Trial environment.


H. End of Agreement


The Solution provided under this Agreement shall be provided for the Trial Period defined above
unless earlier terminated in accordance with this Agreement. At the end of the Trial Period, all
rights to access or use the Solution shall immediately terminate.


You may discontinue your use of the Solution at any time. Kytch may terminate your password,
account, and access to or use of the Solution at any time for any reason. You acknowledge and
agree that Kytch has no obligation to retain your content, data and applications, and that your
content, data and applications will be irretrievably deleted, following the termination of the Trial.


If you cancel the Trial before the end of the Trial Period, all your rights to any remaining free
Trial Period will be waived and you will not be eligible to participate in any further trials, except
as allowed by Kytch in its sole discretion.


At termination of the Trial, if you choose not to buy the Solution, you must return all elements of
the Kytch Solution (and all related materials) in your possession or control within five (5) days.


Provisions that survive termination or expiration of this Agreement are those which by their
nature are intended to survive.


I. Fees and Taxes




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The Solution provided under this Agreement is provided to you free of charge during the Trial
Period.


J. Nondisclosure


By virtue of this Agreement, you will have access to information that is confidential to Kytch,
including but not limited to all aspects of the Solution and all information relating to its features,
specifications, functionality and performance (“Kytch Confidential Information”). Kytch
Confidential Information shall not include information which: (a) is or becomes a part of the
public domain through no act or omission of yours; or (b) was in your lawful possession prior to
the disclosure and had not been obtained by you either directly or indirectly from Kytch; or (c) is
lawfully disclosed to you by a third party without restriction on disclosure; or (d) is
independently developed by you without use of or reference to Kytch Confidential Information.
You agree, both during the term of this Agreement and for a period of five years after
termination of this Agreement, to hold Kytch’s Confidential Information in strict confidence
using no less than a reasonable degree of care, not to disclose Kytch Confidential Information to
any third party (other than your users) and not to use Kytch Confidential Information for any
purpose other than your evaluation of the Solution as part of the Trial.


K. Terms and Privacy


The terms, EULA and privacy agreements located at Kytch’s website at https://kytch.com/tos are
incorporated into this Agreement.


L. Entire Agreement


You agree that this Agreement including the information which is incorporated into this
Agreement by written reference (including reference to information contained in a URL or
referenced policy), is the complete agreement with respect to the subject matter hereof, and that
this Agreement supersedes all prior or contemporaneous agreements or representations, written
or oral, regarding such subject matter. If any term of this Agreement is found to be invalid or
unenforceable, the remaining provisions will remain effective and such term shall be replaced
with a term consistent with the purpose and intent of this Agreement. It is expressly agreed that
the terms of this Agreement shall supersede the terms in any purchase order or other non-Kytch
document and no terms included in any such purchase order or other non-Kytch document shall
apply to the Solution or Trial. This Agreement may not be modified and the rights and




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restrictions may not be altered or waived except in a writing signed by authorized representatives
of you and of Kytch.


M. Limitation of Liability


IN NO EVENT SHALL KYTCH BE LIABLE TO YOU OR ANY THIRD PARTY FOR ANY
INDIRECT, INCIDENTAL, SPECIAL, PUNITIVE, OR CONSEQUENTIAL DAMAGES, OR
ANY LOSS OF REVENUE OR PROFITS, DATA, OR DATA USE, ARISING OUT OF OR
RELATED TO THIS AGREEMENT, WHETHER IN CONTRACT OR TORT, OR
OTHERWISE, EVEN IF KYTCH HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH
DAMAGES. IN NO EVENT SHALL KYTCH’S TOTAL LIABILITY TO YOU UNDER THIS
AGREEMENT FOR ALL DAMAGES EXCEED THE AMOUNT OF ONE THOUSAND
UNITED STATES DOLLARS ($1,000.00).


N. Other



               •       Kytch is an independent contractor and we each agree that no partnership,
       joint venture, or agency relationship exists between us. We each will be responsible for
       paying our own employees, including employment related taxes and insurance. Kytch
       reserves the right to provide the Solution from locations, and/or through use of affiliates
       and subcontractors, worldwide.


               •      You are responsible for obtaining at your sole expense any rights and
       consents from third parties necessary for your content, your applications, and other
       vendors’ products provided by you and used with the Trial environment, including all
       rights and consents to such content, applications and products necessary for Kytch to
       provide the Solution.
               •        This Agreement is governed by the substantive and procedural laws of the
       State of California and you and Kytch agree to submit to the exclusive jurisdiction of, and
       venue in, the courts in Alameda county in California in any dispute arising out of or
       relating to this Agreement. If you have a dispute with Kytch, you will promptly send
       written notice to legal@kytch.com. Kytch may give notice applicable to Kytch’s Solution
       customer base by means of a general notice on the Kytch portal for the Solution, and
       notices specific to you by electronic mail to your e-mail address on record in Kytch’s
       account information or by written communication sent by first class mail or pre-paid post
       to your address on record in Kytch’s account information.




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                •       You may not assign this Agreement or give or transfer the Solution or an
       interest in them to another individual or entity. Kytch may assign this Agreement to any
       affiliate or successor to its assets or business.


               •      Except for actions for violation or misappropriation of Kytch’s intellectual
       property or proprietary rights, no action, regardless of form, arising out of or relating to
       this Agreement may be brought by either party more than two years after the cause of
       action has accrued.
              •       Kytch may use software tools to audit and otherwise request information
       from you regarding your use of the Solution. You agree to cooperate with Kytch’s audit
       and provide reasonable assistance and access to information.
               •      The Uniform Computer Information Transactions Act does not apply to
       this Agreement or orders placed under it. You understand that Kytch’s business partners,
       including any third party firms retained by you to provide computer consulting services,
       are independent of Kytch and are not Kytch’s agents. Kytch is not liable for nor bound by
       any acts of any such business partner, unless the business partner is providing services as
       an Kytch subcontractor on an engagement ordered under this Agreement.


O. Force Majeure


Neither of us shall be responsible for events outside the reasonable control of the obligated party.
We both will use reasonable efforts to mitigate the effect of a force majeure event.


P. Feedback


“Feedback” shall mean any input, comments, suggestion or feedback regarding Kytch’s Solution,
the Trial and/or Kytch Confidential Information, including changes or suggested changes to
Kytch’s current or future Solutions and/or other products or services. Notwithstanding anything
that you may note or state in connection with providing Feedback, all Feedback provided by you
shall not be considered confidential information and shall be received and treated by Kytch on a
non-confidential and unrestricted basis. You agree that Kytch shall exclusively own (and you
hereby assign to Kytch) all right, title and interest (including all intellectual property rights) in
and to any Feedback provided by you or any other party, and acknowledge that Kytch may (but
is not obligated to) use the Feedback for any purpose, including but not limited to incorporation
or implementation of such Feedback into the Kytch Solution or other products or services, and to
display, market, sublicense and distribute such Feedback as incorporated or embedded in any
Solution, product or service distributed or offered by Kytch.




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                                   03 / 19 / 2020
This Agreement is effective as of ____________________, 2020 (the “Effective Date”), by and
between:




_______________________________________
Signature

J Tyler Gamble
_______________________________________
Name

Owner / McDonald's
_______________________________________
Title/Company




_______________________________________
Signature

Melissa Nelson
_______________________________________
Name

Co-CEO / KYTCH,INC.
_______________________________________
Title/Company




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                                          EXHIBIT A


                            Approved Trial locations to be listed here


McDonald's 1108 South Cass Street Corinth MS 38834, McDonald's 2586 Anderson Ave
Brownsville TN 38012, McDonald's 1705 South Highland Ave Jackson TN 38301, McDonald's
4101 B Highway 412 S Bells TN 38006.




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                                                                                  Audit Trail

Title
                            Kytch Trial Agreement
File Name
                        KYTCH TRIAL AGREEMENT__2020.docx
Document ID
                      6cad3831ad2aabcfba975dac3d13596153a13446
Audit Trail Date Format
          MM / DD / YYYY
Status                             Completed




                 03 / 19 / 2020   Sent for signature to Tyler Gamble (tgamblemcd@gmail.com)
                 18:30:52 UTC     and Melissa Nelson (Melissa@kytch.com) from
                                  allison@kytch.com
                                  IP: 71.202.29.169




                 03 / 20 / 2020   Viewed by Tyler Gamble (tgamblemcd@gmail.com)
                 02:23:22 UTC     IP: 205.185.229.140




                 03 / 20 / 2020   Viewed by Melissa Nelson (melissa@kytch.com)
                 03:28:57 UTC     IP: 73.15.84.205




                 03 / 20 / 2020   Signed by Tyler Gamble (tgamblemcd@gmail.com)
                 02:26:22 UTC     IP: 205.185.229.140




                 03 / 20 / 2020   Signed by Melissa Nelson (melissa@kytch.com)
                 03:29:52 UTC     IP: 73.15.84.205




                 03 / 20 / 2020   The document has been completed.
                 03:29:52 UTC
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Kytch, Inc. Terms of Service
Last Updated: July 3, 2020

IMPORTANT NOTICE: THIS AGREEMENT IS SUBJECT TO A WAIVER OF CLASS ACTION RIGHTS AS DETAILED IN THE
DISPUTE RESOLUTIONS SECTION.

ACCEPTANCE OF TERMS OF SERVICE

Kytch, Inc., its parent, Frobot, Inc., and a liates (collectively, “Kytch” “We,” “Us,” or “Our”) provide (1) the Kytch
website located at www.kytch.com, and all associated sites linked to www.kytch.com, including the Kytch
user account website that may be accessed at www.kytch.com (“Sites”) (2) any services accessible through
the Sites, including any Trial period and Kytch Gold (“Web Apps”), (3) software that may be downloaded to
Your smartphone or tablet to access services (“Mobile Apps”), and (4) any subscription services, including
services that can be accessed using the Web Apps and Mobile Apps (“Subscription Services”), all for use in
conjunction with Kytch hardware products (“Products”) and in other ways that Kytch provides. The term
“Services” means the Sites, Web Apps, Mobile Apps, and Subscription Services.

Please read these Terms of Service (“Terms”) carefully before you begin using Our Products and Services or
any Third Party Services. By clicking “Login”, “Create Account”, “Sign In” “Sign Up”, “Start Free Trial”, creating a
user account, placing an order, or otherwise using the Products and Services, you agree to accept and be
bound by these Terms, along with the Kytch End User License Agreement, Kytch Trial Agreement, Kytch
Privacy Policy, and the Kytch Privacy Statement, which are all taken together and incorporated by reference
into these Terms, and govern Your use of the Products and Services and constitute a binding legal
agreement between You and Kytch, (the “Agreement”). If any of the provisions of these Terms directly
conflict with those applicable to individual Products or Services, the provisions applicable to the specific
Products or Services will prevail. If you do not agree to the Agreement, do not access or use our Products or
Services or any Third Party Services. Certain features of the Services may also be subject to additional
guidelines, terms or rules, which will be posted on the Services in connection with such features. Please read
these Terms carefully, as they contain important information about a class action waiver and a binding
arbitration provision, requiring you to arbitrate any claims you may have against Kytch on an individual
basis. ARBITRATION ON AN INDIVIDUAL BASIS MEANS THAT YOU WILL NOT HAVE, AND YOU WAIVE,
THE RIGHT FOR A JUDGE OR JURY TO DECIDE YOUR CLAIMS, AND THAT YOU MAY NOT PROCEED IN A
CLASS, CONSOLIDATED, OR REPRESENTATIVE CAPACITY.

THESE TERMS ARE A BINDING LEGAL AGREEMENT. BY ACCEPTING THESE TERMS AND ACCESSING
AND USING THE PRODUCTS OR SERVICES IN ANY WAY YOU ARE ACCEPTING AND AGREEING TO
THESE TERMS ON BEHALF OF YOURSELF OR THE ENTITY THAT YOU REPRESENT IN CONNECTION
WITH THE ACCESS AND USE OF THE PRODUCTS AND SERVICES. YOU REPRESENT AND WARRANT
THAT YOU HAVE THE RIGHT, AUTHORITY AND CAPACITY TO ACCEPT AND AGREE TO THESE TERMS
ON BEHALF OF YOURSELF OR THE ENTITY THAT YOU REPRESENT. YOU REPRESENT THAT YOU ARE,
OF SUFFICIENT LEGAL AGE IN YOUR JURISDICTION OR RESIDENCE TO USE OR ACCESS THE
PRODUCTS AND SERVICES AND TO ENTER INTO THIS AGREEMENT.

AS DESCRIBED BELOW, YOU ARE CONSENTING TO AUTOMATIC SOFTWARE UPDATE OF THE SERVICES
AND OF THE PRODUCTS CONNECTED TO THE SERVICES. IF YOU DO NOT AGREE, YOU SHOULD NOT
USE OUR PRODUCTS OR SERVICES.
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SECTIONS 4 AND 5 BELOW DESCRIBE IMPORTANT LIMITATIONS OF THE PRODUCTS AND SERVICES,
ESPECIALLY IN CONNECTION WITH LIFE SAFETY AND CRITICAL USES. PLEASE READ THESE
DISCLOSURES CAREFULLY, WHICH, BY YOUR USE OF THE PRODUCTS AND SERVICES, YOU AGREE TO
ACCEPT.

GENERAL

The terms “You,” “Your,” or “Yours” as used in these Terms, means any person or entity who: (1) accesses or
uses any of our Products or Services; and (2) creates or accesses an Account, (as defined in Section 2(a)
including, but not limited to Account Owners and Authorized Users (as defined in Section 2(b).These Terms
give you specific legal rights. In addition, you may also have other legal rights which vary from jurisdiction to
jurisdiction. The disclaimers, exclusions, mandatory and binding arbitration, limitations of liability,
indemnification, waiver of jury trial, waiver of class action and waiver of punitive damages under these
Terms will not apply to the extent prohibited by applicable law. Some jurisdictions do not allow the exclusion
of implied warranties or the exclusion or limitation of incidental or consequential damages or other rights,
so those provisions of these Terms may not apply to you.

NOTICE

BY ACCESSING THE PRODUCTS AND SERVICES OR CREATING ANY ACCOUNT, YOU REPRESENT, WARRANT, AND
AGREE THAT YOU ARE AN ACCOUNT OWNER OR AN AUTHORIZED USER AND ARE ACCESSING THE PRODUCTS,
SERVICES, AND ANY ACCOUNT FOR A PERMITTED PURPOSE. YOU UNDERSTAND AND AGREE THAT
UNAUTHORIZED ACCESS OR EXCEEDING AUTHORIZED ACCESS TO THE PRODUCTS, SERVICES OR ANY ACCOUNT,
WILL VIOLATE THESE TERMS OF SERVICE AND MAY ALSO VIOLATE CERTAIN LAWS INCLUDING, BUT NOT
LIMITED TO, THE COMPUTER FRAUD AND ABUSE ACT, 18 U.S.C. § 1030 et seq., THE COPYRIGNT ACT, 17 U.S.C. § 101
et seq., THE DEFEND TRADE SECRETS ACT, 18 U.S.C. §1832 et seq. THE CALIFORNIA COMPREHENSIVE DATA
ACCESS AND FRAUD ACT, Cal. Penal Code § 502, THE CALIFORNIA UNIFORM TRADE SECRETS ACT Cal. Civil Code §
3426 et seq., AND MAY ALSO CONSTITUTE COMMON LAW MISAPPROPRIATION, UNFAIR COMPETITION,
TRESPASS TO CHATTELS, UNJUST ENRICHMENT, AND IS A BREACH OF THESE TERMS OF SERVICE. BY ACCESSING
THE PRODUCTS, SERVICES, AND ACCOUNTS, YOU HEREBY EXPRESSLY CONSENT TO KYTCH, INC.’S MONITORING
OF YOUR USE OF THE PRODUCTS, SERVICES, AND ACCOUNTS, INCLUING THROUGH THE USE OF SOFTWARE
TOOLS. KYTCH, INC. WILL UTILIZE ANY AND ALL LEGAL REMEDIES TO WHICH IT IS ENTITLED TO ENFORCE ITS
RIGHTS. BY ACCESSING THE PRODUCTS, SERVICES, OR ANY ACCOUNT YOU REPRESENT, WARRANT, AND AGREE
THAT YOU HAVE BEEN PROVIDED WITH NOTICE OF THIS WARNING.

1. Eligibility; Trials; Subscriptions; Customer Service; Term and Termination
(a) Eligibility. (i) You may use the Products and Services only if you have the legal capacity to form a binding
contract with Kytch. Only individuals aged 18 and older are permitted to act as Account Owners of Kytch
Accounts. The Products and Services are not available to any users previously prohibited from using the
Products and Services by Kytch.

(b) Subscriptions. We o er di erent subscription plans for our Subscription Services.

(c) Continuous Subscriptions. When you purchase any of our Subscription Services, you expressly acknowledge
and agree that (1) Kytch is authorized to charge you an annual subscription service fee (in addition to any
applicable taxes) for as long as your subscription continues, and (2) your subscription is continuous until you
cancel it or such Subscription Service is suspended, discontinued or terminated in accordance with these
Terms.

(d) Billing. We automatically bill the payment method associated with your Kytch account on the day you
purchase the subscription. We utilize a third party payment provider: Stripe. In the event you later decide to
purchase additional Subscription Services (each, an “Add-On Service”), your payment for such Add-On
Service will be prorated to the renewal date of your initial Subscription Service and the full amount of the
add-on service will be charged on your subscription renewal date. You acknowledge that the amount billed
may vary due to promotional o ers, changes in your Subscription Services plan and changes in applicable
taxes, and you authorize us to charge your payment method for the corresponding amounts.
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(e) Cancellations and Refunds. Once you order your Subscription Service or any Add-On Service, you will be
charged the full annual subscription fee which is non-refundable, even if you wish to cancel your
subscription.

(f) Pre-paid Subscription Services. We may o er Products that include pre-paid Subscription Services, either
included in the purchase price or as a Bundle. Pre-paid Subscription Services may not be used with
Products other than the Product with which those pre-paid Subscription Services were purchased. If you
purchase such Products, the pre-paid Subscription Services will begin on the date you pair your Product
with your Account and end on the date noted in your Account following activation. If you cancel your pre-
paid Subscription Services, those Subscription Services will be canceled permanently, and you will not
receive a refund. Pre-paid Subscription Services are subject to the same terms and conditions as other
Subscription Services, including Kytch’s right to suspend, discontinue or terminate the Subscription Services
in accordance with these Terms.

(g) Trials. If you are using the Products and Services on a trial basis, Your use of the Products and Services is
also governed by the Kytch Trial Agreement and you may only use the Products and Services for the limited
Trial Period specified by Kytch in writing or on the Web Apps at the time of Your order, solely for purpose of
evaluating suitability. The Products must be installed at Your designated location. Once installed, if the
Products have been disconnected from the Kytch servers for a period of 3 days for any reason whatsoever,
or, if the Products are shipped to You and You do not install the products within three (3) days after We
send a notice to You that you have not installed the Products, or at the conclusion of Your Trial Period, you
will either (i) immediately cease all use of the Products and Services, and return the Products in accordance
with these Terms, or (ii) promptly purchase a subscription of the Services from the Trial end date, and begin
paying for the Services. If the Products have not been returned to Kytch within fourteen (14) days of the
Trial Period end date or date of disconnection from the Kytch servers, or they are not installed within three
(3) days after We send a notice to You that You have not installed the Products, You hereby a rm and agree
that You will be considered to have purchased a subscription to the Services and You agree that you shall
pay the full listed non-discounted price of the Product and Services for the Trial Period. If you have
submitted Your credit card information, You agree that we will charge Your credit card on file and you
hereby give Us permission to do so.

When using the Products and Services through a Trial or Subscription, You may not and you many not
directly or indirectly, cause, permit, or allow others to:

    remove or modify any program or services markings or any notice of Kytch’s proprietary rights;
    make the Products or Services, including any Kytch programs or materials to which you are provided
    access, available in any manner to any third party;
    modify, make derivative works of, disassemble, reverse compile, reverse engineer, reproduce, distribute,
    republish or download any part of the Products and Services, or access or use the services in order to
    build or support, and/or assist a third party in building or supporting, Products or Services competitive
    to Kytch;
    disclose the results of the performance of the Products and Services without Kytch’s prior written
    consent;
    license, sell, rent, lease, transfer, assign, distribute, display, host, outsource, disclose, permit timesharing,
    or otherwise commercially exploit or make the Products and Services, Kytch programs or materials
    available, to any third party.

(h) Authorized Users. To use the Products and Services you must have a kytch.com account. Access to and use
of the Web Apps is restricted to Account Owners and Authorized Users only. You may not share Your
password(s), account information, or access to the Web Apps or any Accounts. You are responsible for
identifying and authenticating all Authorized Users, for approving access by such Authorized Users to the
Services, for controlling against un-authorized users, and for maintaining the confidentiality of usernames,
passwords and account information. Kytch is not liable for any harm caused by Authorized Users, including
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any individuals who were not authorized to have access to the Products and Services but who were able to
gain access because usernames, passwords or accounts were not terminated on a timely basis. You are
responsible for all activities that occur under Your and Your Authorized Users’ passwords or accounts or as a
result of Your and Your Authorized Users’ access to the Web Apps, and agree to notify Kytch immediately of
any unauthorized use. You agree to make every reasonable e ort to prevent unauthorized third parties from
accessing the Web Apps.

If you cancel the trial before the end of the trial period, all Your rights to any remaining free trial period will
be waived and you will not be eligible to participate in any further trials, except as allowed by Kytch in its
sole discretion.

At any time and without notice, Kytch reserves the right to (i) modify the terms and conditions of the trial
o er, or (ii) cancel such trial for any reason. Cancellations can be emailed to support@kytch.com. The other
sections of Kytch’s Terms of Service, Terms of Sale, EULA and Privacy Policies apply.

(i) Kytch Gold. As part of the Services, You may sign up for Kytch Gold. Kytch Gold allows You to see the
physical address of the location of Your equipment and whether the equipment is available to serve
product. You may choose to make this information available to users of the Kytch Services. If you choose to
share this information, you hereby give your consent to Kytch to make it available without limitation.

(j) Customer Service. If you have any questions or concerns regarding the Products, the Services or these
Terms, please contact Kytch. You understand and agree that customer service and any customer care and
support o ered and provided by Kytch is not a technician service or dispatch center, an emergency service
provider or dispatch service.

(k) Term and Termination. These Terms will remain in full force and e ect as long as you continue to access or
use the Products and Services, or until terminated in accordance with the provisions of the Agreement. At
any time, Kytch may (i) suspend or terminate Your rights to access or use the Products and Services, or (ii)
terminate these Terms with respect to you if Kytch, in good faith, believes that you have used the Products
and Services in violation of these Terms, including any incorporated guidelines, terms or rules. You may not
give, sell, loan or transfer the Product to any other person or entity. Upon termination or expiration of these
Terms for any reason, you must return the Product to Kytch in accordance with these Terms.

(l) E ect of Termination. Upon termination of these Terms for any reason, Your Account and Your right to use
the Products and Services will automatically cease, and Kytch shall have no further obligation to You.

(m) Ownership of Products and Product Software. Products includes any Products provided or leased to You by
Kytch with or without a separate fee in connection with the Services. You agree that the Product Software
and Products will remain the property of Kytch and You will not acquire any ownership or other interest in
them by virtue of this Agreement or attachment of the Products to Your equipment as a result of this
Agreement. The Product Software is further governed by the EULA. You agree that the Products will not be
deemed fixtures or in any way part of Your location. You agree to use the Products only for accessing the
Service(s) provided by Kytch pursuant to these Terms. You must follow all instructions from Kytch regarding
the installation and use of the Products.

(n) Upgrades. Kytch may upgrade, replace, remove, add or otherwise change the Products at its sole
discretion at any time during the Agreement or following its termination. You consent to such changes
including Kytch Platform, firmware and other code or software updates or downloads, including updates
and downloads by Kytch’s third-party suppliers, with or without notice to You, which may alter, add to, or
remove features or functionalities of the Products or the Services. You acknowledge and understand that
the Products may receive remote updates of software, firmware, or operating systems by Kytch’s third-
party suppliers. You acknowledge and agree that Kytch’s or Kytch’s third-party suppliers’ updates, or
Kytch’s addition or removal of or change to the Products may interrupt access to the Services. Kytch may, at
its sole discretion, fix the Products, install new or reconditioned Products, including replacing the existing
Products, as Kytch deems necessary, at any time for which You may incur a separate fee. If Kytch requests
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that You replace, or o ers to replace the Products in order to provide the Services, and You fail to do so,
Kytch is not responsible for any resulting degradation of the Services or any security vulnerabilities. If Kytch
requires that You add or replace the Products and You fail to do so, Kytch may terminate the Agreement at
its sole discretion.

(o) Unauthorized Use; Prohibition on Tampering. You are responsible and shall be liable for all Products at Your
location and in Your possession. You may not sell, lease, abandon, or give away the Products. You agree that
You will not, and You will not permit others, to use, rearrange, disconnect, abandon, remove, relocate, repair,
service, alter, modify, tamper or otherwise interfere with any of the Products. Such prohibition includes,
without limitation, attaching or, permitting others to attach any unauthorized devices to the Products,
using or permitting others to use the Products that causes interference with the Products or Services, or
altering identifying information such as serial numbers or logos. If You make or assist any person to make
any unauthorized connection or modification to the Products, Product Software, the Kytch Platform or the
Service(s) Kytch may terminate the Agreement and recover such damages as may result from Your actions.
You also agree that Kytch may recover damages from You for tampering with the Products, Product
Software, the Kytch Platform, the Services or utilizing them for purposes other than those contemplated by
the Agreement. You agree that You will not allow anyone other than Kytch or its agents to service the
Products.

(p) Payment for Damage to or Loss of the Products. You agree to pay the full retail cost for the repair or
replacement of any Products or part that are lost, stolen, damaged, modified, sold, transferred, leased,
encumbered or assigned together with any costs incurred by Kytch in obtaining or attempting to obtain
possession of any Products.

(q) Return of Products. You agree that in the event the Agreement is terminated for any reason, You will
return, either in person, or via first class mail, all of the Products to Kytch within fourteen (14) days of the
e ective date of termination of the Agreement, unless otherwise instructed in writing by Kytch. The
returned Products must be in good condition and without any encumbrances, except for ordinary wear and
tear resulting from proper use. If You fail to return the Products as provided herein, additional charges may
apply. If You return the Products to Kytch by mail, You will be responsible for (i) any damage to the Products
as assessed by Kytch upon receipt, (ii) the replacement cost of such Products that are lost, misplaced, not
delivered or stolen during transit, and (iii) shipping/handling costs, unless Kytch provides written notice in
advance that it will pay such costs.

(r) Relocation of Products. The Products may only be used in the designated business Location(s). You agree
that You will not remove any of the Products from the business Location(s) without Kytch’s prior consent.
YOU UNDERSTAND AND ACKNOWLEDGE THAT IF YOU ATTEMPT TO INSTALL OR USE THE PRODUCTS
OR SERVICE(S) AT A LOCATION OTHER THAN THE BUSINESS LOCATION(S) DESIGNATED BY YOU,
WHEN YOU ENTERED INTO THIS AGREEMENT, THE SERVICE(S) MAY FAIL TO FUNCTION OR MAY
FUNCTION IMPROPERLY. If You relocate to a new address, You may be charged a fee to relocate the
Products.

(s) Compliance and Auditing Rights You acknowledge and agree that Kytch may monitor your use of the Kytch
Products and Services remotely and in person, to ensure your compliance with the Terms. You hereby agree
to cooperate with Kytch and to allow Kytch to remotely monitor your use of the Kytch Products. You also
agree to allow Kytch to physically inspect your facilities and records that relate to the Kytch Products and
Services and your use of the same and to verify your full compliance with the terms of these Terms. You
agree to cooperate with Kytch and provide reasonable assistance and access to such information. You and
Kytch agree to determine a mutually agreeable time and date for such inspection which shall take place
within five (5) business days after written demand by Kytch therefor. In lieu of an inspection, if Kytch so
requests, an o cer or other authorized representative of your business entity shall certify in writing to
Kytch that you are in full compliance with the Terms. You agree that Kytch shall not be responsible for any
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of your costs incurred in cooperating with the audit. You agree to immediately pay any fees applicable to
your use of the Kytch Products and Services in excess of the rights granted to you pursuant to the Terms.
Failure of You to pay shall constitute a material breach of these Terms.

2. Accounts
(a) Your Account. To use certain Products and Services you must register for a user account (“Account”) and
provide certain information about Yourself, as prompted by the applicable registration form. You represent,
warrant, and agree that: (a) all required registration information that you submit is truthful and accurate; (b)
you will maintain the accuracy of such information; and (c) Your use of the Products and Services will not
violate any applicable federal, state, local, or international law or regulation, including, without limitation,
any laws regarding the export of data or software to and from the U.S. and other countries (e.g., you are not
located in an embargoed country or are not listed as a prohibited or restricted party under applicable
export control laws and regulations); and (d) that you have agreed to these Terms. You are entirely
responsible for maintaining the confidentiality of Your Account login credentials and for all activities that
occur under Your Account. You agree to use “strong” passwords (passwords that use a combination of
upper- and lower-case letters, numbers and symbols) with Your Account and to maintain Your password
securely to prevent others from gaining access. You agree to immediately notify Kytch of any unauthorized
use or suspected unauthorized use of Your Account, or any other breach of security. Kytch is not liable for
any loss or damage arising from Your failure to comply with the above requirements.

(b) The individual who creates an Account is the “Account Owner” of that Account and, if obtaining Products as
part of the Services is also the lessee of the Products associated with that Account. Individuals who are
authorized to access an Account Owner’s Products and Services are those individuals who are employees of
the Account Owner who require access to to the Account as part of their job functions and only for the
Permitted Purpose (“Authorized Users”). Authorized Users may have the ability to use the Services and
monitor and control the Products (for example, an Authorized User can change Your settings). Authorized
Users may also have the ability to view information (including personal information) and Content across all
of an Account Owner’s Products and Services (for example, an Authorized User will receive email alerts or
can view Your history). Authorized Users are responsible for their own actions in connection with the
Products and Services, but the Account Owner also hereby warrants and agrees to be jointly and severally
liable for all actions taken by all Authorized Users relating to the Account Owner’s Products, Services and
Account. If you are an Account Owner who invites or enables an Authorized User, you acknowledge and
agree that said Authorized User may subsequently invite or enable other Authorized Users with the same
access and ability to use Your Products and Services set out above. As a result, if you are an Account Owner,
you should only authorize those individuals whom you trust to access Your Account, Products and Services.

(c) Warranties by Account Owner. ccount Owner represents, warrants, and agrees that: (i) Account Owner is
fully responsible for the use, security, and integrity of their Account and will only allow Authorized Users to
access the Account and shall instruct Authorized Users that they may not share Account login credentials
with anyone other than other Authorized Users; (ii) Account Owner is responsible for Authorized User’s
access to the Account; and (iii) violation of these Account Owner’s warranties constitutes a material breach
of these Terms.

3. Access to Services
(a) Access and Use. Subject to these Terms, Kytch grants you a limited, non-transferable, non-exclusive, non-
assignable right (without the right to sub-license) to access and use the Services in the United States by (i)
using the Web Apps in connection with, and solely for the purpose of, controlling and monitoring the
Products you are authorized to control and monitor or otherwise accessing the Services provided by Kytch
for Your use (the “Permitted Purpose”) ; (ii) installing and using the Mobile Apps solely on Your own
handheld mobile device (e.g., iPhone, iPad or Android smartphone) solely for the Permitted Purpose; and (iii)
accessing the Sites solely for the Permitted Purpose.
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(b) Automatic Software Updates.Kytch may, from time to time, develop patches, bug fixes, updates, upgrades
and other modifications to improve the performance of the Services and/or the Product Software
(“Updates”). These may be automatically installed without providing any additional notice or receiving any
additional consent. You consent to this automatic update. If you do not want such Updates, Your remedy is
to terminate Your Account and stop using the Products and Services. If you do not terminate a previously
created Account, you will receive Updates automatically. You acknowledge that you may be required to
install Updates to use the Products and Services and you agree to install any Updates that Kytch provides
promptly. Your continued use of the Products and Services is Your agreement – (i) to these Terms with
respect to the Products and Services, and (ii) to the End User License Agreement with respect to updated
Product Software; and (iii) any change or updates that Kytch may make to these Terms or the End User
License Agreement in the future.

(c) Kytch-provided interface to Third-Party Products and Services. Over time, Kytch may provide the opportunity
for you to interface the Products and Services to one or more third-party products and services, through
and using the Services, for example through the Works with Kytch platform (“Third-Party Products and
Services”). You decide whether you want to interface, and with which Third-Party Products and Services you
want to interface. Your explicit consent and authorization are required for this interface and is revocable by
you at any time. Once Your consent is given for a particular Third-Party Product and Service, you agree that
Kytch may exchange information and control data regarding you and Your products, including Your personal
information, pursuant to our Privacy Policy in order to enable the interface that you have authorized. Once
this information is shared with the particular Third-Party Product and Service, its use will be governed by
the third party’s privacy policy and not by Kytch’s privacy documentation. You acknowledge and agree that
Kytch makes no representation or warranty about the quality or safety of any Third-Party Products or
Services or the interface with Product and Services. Accordingly, Kytch is not responsible for Your use of any
Third-Party Product or Service, or any personal injury, death, property damage (including, without
limitation, to Your home), or other harm or losses arising from or relating to Your use of any Third-Party
Products or Services. You should contact the third party with any questions about their Third-Party
Products and Services.

(d) Content. Certain materials may be displayed, performed, or provided through your access and use of the Products
and Services, including, but not limited to, text, graphics, articles, photographs, video, images, reports. and
illustrations (“Content”)). The Content supplied by Us is owned exclusively by Us, and You obtain no right,
title, or interest in or to the Content. The Content may also include information that You may provide
through the Services including, without limitation, feedback, comments, questions, video, or other
information which is shared with other users in the course of using the Products and Services (collectively,
“User Submissions”), which we may also use to provide, maintain and improve the Services. Some Content
may be visible to others. You are solely responsible for all User Submissions that You upload, post, email,
transmit or otherwise disseminate using, or in connection with, the Services, or that You contribute in any
manner to the Services; You represent and warrant that You have all rights necessary to do so, in the
manner in which You contribute it; and You license to Kytch all patent, trademark, trade secret, copyright or
other proprietary rights in and to such User Submissions for publication on the Service pursuant to these
Terms. You shall abide by all copyright notices, trademark rules, information and restrictions contained in
any Content accessed through the Services, and shall not use, copy, reproduce, modify, translate, publish,
broadcast, transmit, distribute, perform, upload, display, license, sell or otherwise exploit for any purposes
whatsoever any Content or third-party submissions or other proprietary rights not owned by You: (i)
without the express prior written consent of the respective owners, and (ii) in any way that violates any
third-party right. Kytch reserves the right to remove any Content, including User Submissions, from the
Services at any time, for any reason (including, but not limited to, upon receipt of claims or allegations from
third parties or authorities relating to such Content or if we are concerned that You may have breached the
immediately preceding sentence), or for no reason at all. Additionally, any User Submissions You submit on
or through the Services or otherwise (except for personal information as described in the Privacy Policy) will
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be considered non-confidential and non-proprietary. YOU AGREE TO INDEMNIFY AND HOLD HARMLESS
KYTCH FROM ANY THIRD PARTY CLAIMS, OF WHATEVER NATURE, BASED OR ARISING FROM ANY
USER SUBMISSIONS OR OTHER CONTENT YOU PROVIDE.

(e) Certain Restrictions. The rights granted to You in these Terms are subject to the following restrictions: (i)
You agree not to license, sell, rent, lease, transfer, assign, distribute, host or otherwise commercially exploit
the Products and Services; (ii) You agree not to modify, make derivative works of, disassemble, reverse-
compile or reverse-engineer any part of the Products and Services; (iii) You agree not to access the Products
and Services in order to build a similar or competitive service or product; (iv) except as expressly stated
herein, no part of the Products and Services may be copied, reproduced, distributed, republished,
downloaded, displayed, posted or transmitted in any form or by any means; (v) You agree not to upload,
transmit or distribute any computer viruses, worms or any software intended to damage or alter a
computer or communications network, computer, handheld mobile device, data, the Services, the Products,
the Product Software or any other system, device or property; (vi) You agree not to interfere with, disrupt or
attempt to gain unauthorized access to the servers or networks connected to the Services or violate the
regulations, policies or procedures of such networks; (vii) You agree not to access (or attempt to access) any
of the Services by means other than through the interface that is provided by Kytch; and (viii) You agree not
to remove, obscure or alter any proprietary rights notices (including copyrights and trademark notices) that
may be contained in, or displayed in connection with, the Products and Services. Any future release, update
or other addition to functionality of the Services shall be subject to these Terms.

(f) Privacy. Please review the Privacy Policy for Kytch Web Sites and the Privacy Statement for Kytch
Products and Services. These documents describe practices regarding the information that You or Kytch
may collect from users of the Products and Services, including any Content or User Submissions.

(g) Security. We attempt to implement appropriate security measures. However, Kytch cannot guarantee
that unauthorized third parties will never be able to defeat our security measures or use Your personal
information for improper purposes. You acknowledge that You provide Your personal information at Your
own risk.

(h) Modification. Kytch reserves the right, at any time, to modify, suspend or discontinue the Services or any
part thereof with or without notice. You agree that Kytch will not be liable to You or to any third party for
any modification, suspension or discontinuance of the Services or any part thereof.

(i) Access Outside Certain Countries. Although the Sites are accessible worldwide, the Products and Services
provided or accessed through or on the Sites are not available to all persons or in all countries and are only
intended for access through the United States and Canada. If You choose to access the Sites from outside a
country in which Kytch supports the Product and Services listed here (“Target Country”), You do so on Your
own initiative and You are solely responsible for complying with applicable local laws in Your country. You
understand and accept that the Sites are not designed for use in a non-Target Country and that some, or
all, of the features of the Sites may not work or be appropriate for use in such a country. To the extent
permissible by law, Kytch accepts no responsibility or liability for any damage or loss caused by Your access
or use of the Sites or Kytch Products in a non-Target Country. You will be bound by these Terms wherever
You access or use the Sites or the Services.

4. Agreed Usage and Limitations of Kytch Products and Services
(a) Intended Use of Kytch Services. The Services are intended to be accessed and used for non-time-critical
information and control of Kytch Products. While we aim for the Services to be highly reliable and available,
they are not intended to be reliable or available 100% of the time. The Services are subject to sporadic
interruptions and failures for a variety of reasons beyond Kytch’s control, including Wi-Fi intermittency,
service provider uptime, mobile notifications and operators, among others. You acknowledge these
limitations and agree that Kytch is not responsible for any damages allegedly caused or caused by the
failure or delay of the Services.
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(b) Reliability of Services. You acknowledge that the Services, including remote access and mobile
notifications, are not error-free or 100% reliable and 100% available. Proper functioning of the Services
relies and is dependent on, among other things, the transmission of data through Your wi-fi network,
enabled wireless device (such as a phone or tablet) and broadband internet access and internet service
providers, or optional Cellular Backup service, for which neither Kytch nor any wireless or data carrier is
responsible, and may be interrupted, delayed, refused, or otherwise limited for a variety of reasons,
including insu cient coverage, power outages, termination of service and access, environmental conditions,
interference, non-payment of applicable fees and charges, unavailability of radio frequency channels,
system capacity, upgrades, repairs or relocations, and priority access by emergency responders in the event
of a disaster or emergency (collectively, “Service Interruptions”). You understand that Service Interruptions
may result in the Services being unreliable or unavailable for the duration of the Service Interruption. We
cannot and do not guarantee that you will receive notifications within any given time, or at all.

(c) Service Interruptions; no refund or rebate. The Services may be suspended temporarily, without notice, for
security reasons, systems failure, maintenance and repair, or other circumstances. You agree that you will
not be entitled to any refund or rebate for such suspensions. Kytch does not o er any specific uptime
guarantee for the Services.

(d) System Requirements. The Services will not be accessible without: (i) a working Wi-Fi network in Your store
that is positioned to communicate reliably with the Products; (ii) an Account; (iii) an enabled and supported
wireless device, such as a phone or tablet (required for some features and functionalities of the Service); (iv)
always-on broadband Internet access in Your store with bandwidth su cient to support the Products you
use; and (v) other system elements that may be specified by Kytch. It is Your responsibility to ensure that
you have all required system elements and that they are compatible and properly configured. You
acknowledge that the Services may not work as described when the requirements and compatibility have
not been met. If you modify, substitute, move, or otherwise change any of the required system elements, it
is Your sole duty and responsibility to be sure they are compatible and properly configured to work with the
Products and Services. In addition, you acknowledge that Kytch may activate Bluetooth on Your
smartphone or tablet, with or without prior notification, in order to facilitate proper operation of the
Services, enable communication with Kytch Products connected to the same Kytch account and enable
certain features.

(e) No Benefits. Kytch does not guarantee or promise any specific monetary benefit from the use of the
Products or Services or any feature thereof. From time to time, Kytch may use the Services to provide you
with information that is unique to you and Your Business. We do this to highlight an opportunity based on
our analysis and information about you and Your business.

(f) The Services Provide You with Information Concerning your equipment. All information is provided “as is” and
“as available”. We cannot guarantee that it is correct or up to date. Accessing Information through the
Services is not a substitute for direct access of the information at the equipment location.

(g) All information Publicly Posted or Privately Transmitted through the Services is the sole responsibility of the
person from whom (or from whose Account) such Content originated and Kytch will not be liable for any
errors or omissions in any Content. Kytch cannot guarantee the identity of any other users with whom You
may interact while using the Services. In addition, we cannot guarantee the authenticity of any data that
users or merchants may provide about themselves. You acknowledge that all Content accessed by You
using the Services is at Your own risk and You will be solely responsible for any damage or loss to any party
resulting therefrom. We cannot control and have no duty to take any action regarding how You may
interpret and use the Content or what actions You may take as a result of having been exposed to the
Content, and You hereby release us from all liability for You having acquired or not acquired Content
through the Services.
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(h) You warrant, represent and agree that You will not contribute any Content or otherwise use the Products and
Services in a manner that (i) infringes or violates the intellectual property rights or proprietary rights, rights
of publicity or privacy or other rights of any third party; (ii) violates any law, statute, ordinance or regulation
or is otherwise illegal; (iii) is harmful, fraudulent, deceptive, threatening, abusive, harassing, tortious,
defamatory, vulgar, obscene, libelous or otherwise objectionable; (iv) impersonates any person or entity,
including, without limitation, any employee or representative of Kytch; (v) contains a virus, Trojan Horse,
worm, time bomb or other harmful computer code, file or program; (vi) jeopardizes the security of Your
Kytch Account or anyone else’s Account (such as allowing someone else to log into the Services as You); (vii)
attempts, in any manner, to obtain or access the password, account, products, devices, systems, or other
security information from any other user or third party; (viii) violates the security of any computer network
or cracks any passwords or security encryption codes; (ix) runs Maillist, Listserv or any form of auto-
responder or “spam” on the Services or any processes that otherwise interfere with the proper working of
the Services (including by placing an unreasonable load on the Services’ infrastructure); (x) copies or stores
any significant portion of the Content; (xi) decompiles, reverse-engineers or otherwise attempts to obtain
the source code or underlying ideas or information of or relating to the Services; (xii) allows access to the
Account by anyone other than an Account Owner or Authorized User; (xiii) is not for a Permitted Purpose;
or (xiv) denigrates or disrupts any network capacity or functionality.

(i) Privacy and Data Protection Laws. Kytch Products and Services are primarily intended for purely personal
and business use. Nonetheless, data protection and privacy laws where You live may impose certain
responsibilities on You and Your use of the Products and Services. Where Kytch is acting as a processor of
data You have collected through its Products and Services, it will explicitly state this in the Kytch Privacy
Statement for Products and Services. In these situations, Kytch will attempt to: (i) only process data at Your
instruction; (ii) ensure that persons permitted to process data through us on Your behalf are committed to
confidentiality; (iii) only engage a third party service provider (sub-processor) that provide an equivalent
level of protection as set forth herein; (iv) engage a new third-party service provider (sub-processor) only
after Kytch has provided notice of such changes by posting to the website listed below and allowed You ten
(10) calendar days to object after notice is given. In the event You do object, Kytch will make reasonable
e orts to address Your objection. After this process, if a resolution has not been agreed to within five (5)
calendar days, Kytch will proceed with engaging the third-party service provider. You will have the
opportunity to terminate Your use of Products and Services without penalty. Kytch sub-processors include
Amazon Web Services. It is Your responsibility to check this website regularly for updates; (v) to the extent
applicable and possible, assist You with any individual rights requests or other compliance obligations; and
(vi) delete or return Your data upon termination.

(j) Installation, Test and Use. It is Your responsibility to install and use the Products and Services pursuant to
the applicable manual and instructions. IF A PRODUCT IS NOT PROPERLY INSTALLED, OR IF A PRODUCT
OR ANY OF ITS SENSORS ARE OUTSIDE THE DETECTION RANGE OR HINDERED OR OBSTRUCTED,
YOU MAY EXPERIENCE FALSE ALARMS OR DETECTION FAILURES. It is Your responsibility to test the
Products once installed to be sure the Products (and any related sensors, components and peripherals) are
functioning and communicating as intended and designed, and then regularly test and maintain the
Products after installation. There may be laws in the jurisdiction that you install a particular Product
applicable to where and how to install that Product. You should check to ensure that you are in compliance
with all relevant laws in your jurisdiction. Kytch is not responsible for any injury or damage caused by self-
installation. Kytch maintains a list of recommended installers of the Products on its website. These installers
are not Kytch employees and are not a liated with Kytch. Kytch is not responsible for any conduct of or
liability associated with these installers. You should conduct your own due diligence to select one that best
fits your needs.

(k) Compatibility. KYTCH DOES NOT SUPPORT EVERY MAKE AND MODEL SOFT SERVE EQUIPMENT. BEFORE
USING THE SERVICES, PLEASE ENSURE YOUR EQUIPMENT IS SUPPORTED. You acknowledge that you have
verified the compatibility of the Products you are purchasing with your equipment. You are solely
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responsible for determining the compatibility of the Products with your equipment, and you accept that
lack of compatibility is not a valid claim under the warranty provided with your Products and does not
otherwise constitute a basis for receiving a refund.

5. Limitations of Kytch Services Due to Third Parties
(a) General. Kytch Services rely on or inter-operate Third Party Products and Services. These Third Party
Products and Services are beyond Kytch’s control, but their operation may impact on, or be impacted by,
the use and reliability of the Kytch Services. You acknowledge and agree that: (i) the use and availability of
the Services is dependent on third-party product vendors and service providers, (ii) these third-party
products and services may not operate in a reliable manner 100% of the time and they may impact on the
way that the Kytch Services operate, and (iii) Kytch is not responsible for damages and losses due to the
operation of these third-party products and services.

(b) Third-Party Service Providers Used By Kytch. You acknowledge that Kytch uses third-party service providers
to enable some aspects of the Services – such as, for example, data storage, Cellular Back-up,
synchronization and communication through Amazon Web Services and mobile device notifications through
mobile operating system vendors and mobile operators. YOU AGREE NOT TO RELY ON THE SERVICES
FOR ANY LIFE SAFETY OR TIME-CRITICAL PURPOSES. FURTHER, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, YOU AGREE TO RELEASE AND HOLD HARMLESS THIRD-PARTY
SERVICE PROVIDERS FROM ALL LIABILITY, DAMAGES OR LOSSES OF ANY KIND OR SORT, PERSONAL
INJURY OR LOSS OF LIFE ARISING FROM YOUR USE OF THE PRODUCTS AND SERVICES.

(c) Equipment, ISP and Operator. You acknowledge that the availability of the Services is dependent on (i) Your
computer, mobile device, building wiring, business Wi-Fi network, Bluetooth connection and other related
equipment (“Equipment”), (ii) Your Internet service provider (“ISP”) and (iii) Your mobile device operator
(“Operator”). You acknowledge that You are responsible for all fees charged by Your ISP and Operator in
connection with Your use of the Services. You also acknowledge that You are responsible for compliance
with all applicable agreements, terms of use/service and other policies of Your ISP and Operator.

(d) App Stores. You acknowledge and agree that the availability of the Mobile Apps is dependent on the
third-party websites from which You download the Mobile Apps, e.g., the Google Play Store from Google or
the App Store from Apple (each an “App Store”). You acknowledge that these Terms are between You and
Kytch and not with an App Store. Each App Store may have its own terms and conditions to which You
must agree before downloading Mobile Apps from it. You agree to comply with such App Store terms and
conditions, and Your license to use the Mobile Apps is conditioned upon Your compliance with such App
Store terms and conditions. To the extent that such other terms and conditions from such App Store are
less restrictive than or otherwise conflict with the terms and conditions of these Terms, the more restrictive
or conflicting terms and conditions in these Terms apply.

(e) Third-Party Website Links and Referrals. The Sites may contain links to other websites operated by third
parties (“Third-Party Sites”) and referrals to third-party vendors (“Referred Vendors”). Such Third-Party Sites
and Referred Vendors are not under our control. Kytch provides these links and referrals only as a
convenience and does not review, approve, monitor, endorse, warrant or make any representations with
respect to such Third-Party Sites or Referred Vendors. Your use of these Third-Party Sites is at Your own
risk.

(f) Authorized Users. Kytch is not responsible for any Account Owner or Authorized User’s behavior, or for any
personal injury, death, property damage (including, without limitation, to Your home), or other harm or
losses arising from or relating to their use of the Services.

(g) Release Regarding Third Parties. Kytch is not responsible for third parties or their products and services,
including, without limitation, the App Stores, Third-Party Products and Services, Third-Party Sites, Referred
Vendors, Equipment, ISP and Operators. Kytch hereby disclaims, and you hereby discharge, waive and
release Kytch and its licensors and suppliers from any past, present and future claims, liabilities and
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damages, known or unknown, arising out of or relating to Your interactions with such third parties and their
products and services. TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, YOU HEREBY WAIVE
CALIFORNIA CIVIL CODE SECTION 1542 IN CONNECTION WITH THE FOREGOING, WHICH STATES: “A
GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE CREDITOR DOES NOT KNOW OR
SUSPECT TO EXIST IN HIS OR HER FAVOUR AT THE TIME OF EXECUTING THE RELEASE WHICH, IF
KNOWN BY HIM OR HER, MUST HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
DEBTOR.” YOU HEREBY WAIVE ANY SIMILAR PROVISION IN ANY OTHER JURISDICTION.

6. Ownership and Intellectual Property
(a) Kytch Property.You acknowledge that all intellectual property rights, including, without limitation,
copyrights, patents, trademarks and trade secrets, in the Product, Product Software and Services (i.e., the
Sites, Web Apps and Mobile Apps) are owned by Kytch or its a liates or our licensors. Your possession,
access to and use of the Product, Product Software and Services do not transfer to you or any third party
any rights, title or interest in or to such intellectual property rights. Kytch, and its a liates and licensors and
suppliers, reserve all rights not granted in these Terms. The Services are licensed to you, not sold, under
these Terms. Nothing on or in the Products or Services shall be construed as conferring any license under
any intellectual property right, including any right in the nature of trademark or copyright, of Kytch or any
third party, whether by estoppel, implication or otherwise. All trademarks and trade names are the property
of their respective owners.

You may not use the Content of the Services in any other public or commercial way, nor may you copy or
incorporate any of the content of the Services into any other work, including Your own website, without the
written consent of Kytch. You must have a license from us before you can post or redistribute any portion of
the Services. Kytch retains full and complete title to all Content on the Services, (except User Submissions,
for which you have granted Kytch an irrevocable license to use as set forth in these Terms), including any
downloadable software and all data that accompanies it. You must not copy, modify or in any way
reproduce or damage the structure or presentation of the Services, or any Content therein.

(b) Feedback.You may choose to or Kytch may invite you to submit comments, suggestions or ideas about
the Products or Services, including how to improve the Products or Services (“Ideas”). By submitting any
Ideas, you agree that Your submissions are voluntary, gratuitous, unsolicited and without restriction, and will
not place Kytch under any fiduciary or other obligation and Kytch will be under no obligation to pay you any
compensation for said Ideas. Kytch owns all right, title, and interest in and to said “Ideas.” Kytch may use,
copy, modify, publish or redistribute the submission and its contents for any purpose and in any way
without any compensation to you and at its sole discretion. You also agree that Kytch does not waive any
rights to use similar or related ideas previously known to Kytch, developed by its employees or obtained
from other sources.

(c) User Submissions. You hereby grant us a non-exclusive, worldwide, royalty-free, perpetual, irrevocable,
sub-licensable and transferable right to access, display or otherwise use, copy, modify, and create derivative
works of, Your User Submissions (including all related intellectual property rights). You also hereby do and
shall grant to each user of the Services a non-exclusive license to access and use Your User Submissions
through the Services and as permitted through the functionality of the Services and under these Terms.
Furthermore, you understand that we retain the right to reformat, modify, create derivative works of,
excerpt and translate any User Submissions submitted by you. For clarity, the foregoing license grant to
Kytch does not a ect Your ownership of or right to grant additional licenses to the material in Your User
Submissions, unless otherwise agreed in writing. Kytch is not responsible or liable to any third-party for the
content or accuracy of any User Submissions provided by You or any other user of the Services and You
agree to indemnify, defend, and hold harmless the Kytch for any and all claims, actions, losses, and
damages, of any kind, including reasonable attorney fees, arising from Your User Submissions. Although are
not required to do so, we have the right to take any action with respect to any User Submissions that we
deem necessary or appropriate in Our sole discretion, including if we believe that such User Submissions
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have violated these Terms, violates any intellectual property rights or other rights of any person or entity,
threatens the personal safety of users of the Services or the public or could create liability for Kytch. We
also reserve the right to take appropriate legal action, including referral to law enforcement authorities for
any illegal or unauthorized use of the Services and to terminate or suspend Your access to the Services, in
Our sole discretion, for violating these Terms.

(d) Confidentiality. By virtue of Your use and access to the Products and Services, you may have access to
information that is confidential to Kytch, including but not limited to aspects of the Products and
information relating to its features, specifications, functionality and performance (“Kytch Confidential
Information”). Kytch Confidential Information shall not include information which: (a) is or becomes a part of
the public domain through no act or omission of yours; or (b) was in your lawful possession prior to the
disclosure and had not been obtained by you either directly or indirectly from Kytch; or (c) is lawfully
disclosed to you by a third party without restriction on disclosure; or (d) is independently developed by you
without use of or reference to Kytch Confidential Information. You agree, both during the term of the
Agreement and for a period of five years after its termination, for any reason, to hold Kytch’s Confidential
Information in strict confidence using no less than a reasonable degree of care, not to disclose Kytch
Confidential Information to any third party (other than Your Authorized Users) and not to use Kytch
Confidential Information for any purpose other than for the Permitted Purpose.

7. INDEMNIFICATION
TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, YOU AGREE TO INDEMNIFY, DEFEND,
RELEASE AND HOLD HARMLESS FROM AND AGAINST (I) ANY AND ALL CLAIMS, COSTS, EXPENSES,
LOSSES, ACTIONS, LAWSUITS, JUDGMENTS, LIABILITYS DAMAGES, SUITS, OR CAUSES OF ACTION, AND
ANY OTHER LEGAL ACTION BROUGHT BY ANY THIRD PARTY AGAINST KYTCH, ITS LICENSORS,
SUPPLIERS, SUBSIDIARIES AND AFFILLIATES (INCLUDING THEIR RESPECTIVE DIRECTORS, EMPLOYEES,
OFFICERS, SHAREHOLDERS, MEMBERS, SUCCESSORS, AND AGENTS ) (COLLECTIVELY THE “KYTCH
PARTIES”) ARISING FROM OR RELATING TO (A) YOUR USE AND EACH AUTHORIZED USER’S USE OF
THE PRODUCTS OR SERVICES; (B) YOU OR YOUR AUTHORIZED USERS’ VIOLATION OF THESE TERMS;
(C) YOUR USER SUBMISSIONS OR FEEDBACK OR ANY OTHER CONTENT SUPPLIED BY YOU; (D)
PROPERTY DAMAGE, PERSONAL INJURY OR DEATH (INCLUDING, WITHOUT LIMITATION CLAIMS
BROUGHT BY AND LIABILITIES TO YOUR EMPLOYEES, SUBCONTRACTORS, AGENTS,
REPRESENTATIVES, OR ANY THIRD PARTIES) OR (E) YOU OR YOUR AUTHORIZED USERS’ VIOLATION
OF ANY LAW OR THE RIGHTS OF ANY THIRD-PARTY (COLLECTIVELY, ”THIRD PARTY ACTIONS”); AND
(II) ANY AND ALL RELATED LOSSES, DAMAGES, SETTLEMENTS AND JUDGEMENTS (INCLUDING
PAYMENT OF THE KYTCH PARTIES’ ATTORNEYS’ FEES AND COSTS) INCURRED BY ANY OF THE KYTCH
PARTIES, ASSESSED OR FOUND AGAINST ANY OF THE KYTCH PARTIES, OR MADE BY ANY OF THE
KYTCH PARTIES, RELATING TO OR ARISING FROM ANY SUCH THIRD PARTY ACTION (“THIRD PARTY
RELATED LOSSES”). YOU UNDERSTAND AND AGREE THAT YOUR INDEMNIFICATION OBLIGATION TO
THE KYTCH PARTIES APPLIES EVEN IF SUCH THIRD-PARTY ACTION AND THIRD PARTY RELATED
LOSSES ARISE FROM THE NEGLIGENCE OF ANY KIND OR DEGREE, BREACH OF CONTRACT OR
WARRANTY, STRICT LIABILITY, NON-COMPLIANCE WITH APPLICABLE LAW, OR OTHER FAULT OR
WRONGDOING OF ANY OF THE KYTCH PARTIES. HOWEVER, NOTHING CONTAINED HEREIN SHALL BE
CONSTRUED TO REQUIRE ANY INDEMNIFICATION WHICH WOULD RENDER OR MAKE THIS CLAUSE, IN
WHOLE OR IN PART, VOID AND/OR UNENFORCEABLE UNDER APPLICABLE LAW. FURTHER, YOUR
INDEMNIFICATION OBLIGATION SHALL NOT APPLY TO ANY WILLFUL, WANTON, INTENTIONAL OR
RECKLESS MISCONDUCT OF THE KYTCH PARTIES, OR GROSS NEGLIGENCE OF THE KYTCH PARTIES IN
THOSE STATES THAT DO NOT PERMIT INDEMNIFICATION FOR GROSS NEGLIGENCE. “THIRD PARTY” IS
DEFINED HEREIN TO INCLUDE, WITHOUT LIMITATION, AN ACCOUNT OWNER, AN AUTHORIZED USER,
AN UNAUTHORIZED USER, A SPOUSE, PARTNER, FAMILY MEMBER, GUEST, NEIGHBOR, TENANT,
EMPLOYEE OR INSURANCE COMPANY. Kytch reserves the right, at Your expense, to assume the exclusive
defense and control of any matter for which you are required to indemnify Kytch, and you agree to
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cooperate with our defense of such claims. You agree not to settle any such claim without Kytch’s prior
written consent. Kytch will use reasonable e orts to notify you of any such claim, action or proceeding upon
becoming aware of it.

8. Warranty Disclaimers
THE WARRANTIES FOR THE PRODUCT AND PRODUCT SOFTWARE ARE SET FORTH IN THE LIMITED
WARRANTY AND THE END USER LICENSE AGREEMENT, RESPECTIVELY.

THE SERVICES ARE PROVIDED FOR YOUR CONVENIENCE, “AS IS” AND “AS AVAILABLE”, AND WITH ALL
FAULTS, AND KYTCH, AND OUR LICENSORS AND SUPPLIERS, EXPRESSLY DISCLAIM ANY WARRANTIES
AND CONDITIONS OF ANY KIND, WHETHER EXPRESS OR IMPLIED, INCLUDING THE WARRANTIES OR
CONDITIONS OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, ACCURACY AND NON-
INFRINGEMENT.

KYTCH, AND OUR LICENSORS AND SUPPLIERS, MAKE NO WARRANTY THAT DEFECTS WILL BE
CORRECTED OR THAT THE SERVICES: (I) WILL MEET YOUR REQUIREMENTS; (II) WILL BE COMPATIBLE
WITH YOUR NETWORK, COMPUTER OR MOBILE DEVICE; (III) WILL BE AVAILABLE ON AN
UNINTERRUPTED, TIMELY, SECURE OR ERROR-FREE BASIS; OR (IV) WILL BE ACCURATE OR RELIABLE.
NO ADVICE OR INFORMATION, WHETHER ORAL OR WRITTEN, OBTAINED BY YOU FROM KYTCH OR
THOUGH THE SERVICES, SHALL CREATE ANY WARRANTY.

KYTCH DOES NOT WARRANT, ENDORSE, GUARANTEE OR ASSUME RESPONSIBILITY FOR ANY SERVICE
ADVERTISED OR OFFERED BY A THIRD PARTY THROUGH, OR IN CONNECTION WITH, THE PRODUCTS
OR SERVICES, OR ANY HYPERLINKED WEBSITE OR SERVICE, AND KYTCH WILL NOT BE A PARTY TO,
OR IN ANY WAY MONITOR, ANY TRANSACTION BETWEEN YOU AND THIRD-PARTY PROVIDERS OF
SUCH PRODUCTS OR SERVICES.

KYTCH MAKES NO REPRESENTATIONS CONCERNING ANY CONTENT CONTAINED IN OR ACCESSED
THROUGH THE SERVICES, AND KYTCH WILL NOT BE RESPONSIBLE OR LIABLE FOR THE ACCURACY,
COPYRIGHT COMPLIANCE, LEGALITY OR DECENCY OF MATERIAL CONTAINED IN OR ACCESSED
THROUGH THE SERVICES. KYTCH MAKES NO REPRESENTATIONS OR WARRANTIES REGARDING
SUGGESTIONS OR RECOMMENDATIONS OF PRODUCTS AND SERVICES OFFERED OR PURCHASED
THROUGH THE SERVICES.

THE SERVICES MAY PROVIDE YOU INFORMATION REGARDING YOUR EQUIPMENT OR OTHER
PERIPHERALS CONNECTED TO YOUR EQUIPMENT. WITHOUT LIMITING THE GENERALITY OF THE
DISCLAIMERS ABOVE, ALL INFORMATION IS PROVIDED FOR YOUR CONVENIENCE ,“AS IS” AND “AS
AVAILABLE”. KYTCH DOES NOT REPRESENT, WARRANT, OR GUARANTEE THAT INFORMATION WILL BE
AVAILABLE, ACCURATE, OR RELIABLE.

9. Other Disclaimers
WHEN YOU INSTALL, SETUP OR USE THE PRODUCTS AND SERVICES YOU ARE GIVEN THE
OPPORTUNITY TO CHANGE DEFAULTS OR CHOOSE PARTICULAR SETTINGS. THE CHOICES YOU MAKE
CAN CAUSE NON-RECOMMENDED OR UNINTENDED OPERATION OR NON-OPERATION OF YOUR
PRODUCTS AND SERVICES AND ANY CONNECTED EQUIPMENT OR SYSTEMS. YOU ASSUME ALL
LIABILITY FOR ANY DAMAGES AND LOSSES CAUSED BY, OR RELATED TO, THE CHOICES YOU MAKE
FOR THE PARTICULAR SETTINGS FOR THE PRODUCTS AND SERVICES, AND SETTING OR CHANGING
DEFAULTS. YOU UNDERSTAND AND AGREE THAT SOME OF THE PRODUCTS AND SERVICES ARE
NOTIFICATION, SIGNALLING AND DETECTION PRODUCTS AND SERVICES. THOSE PRODUCTS AND
SERVICES DO NOT ELIMINATE OCCURRENCES OF EVENTS. FURTHER, YOU UNDERSTAND AND AGREE
THAT THOSE PRODUCTS AND SERVICES MAY NOT AVERT OR MINIMIZE SUCH OCCURRENCES OF
EVENTS, OR THEIR CONSEQUENCES, AND, THEREFORE, KYTCH MAKES NO EXPRESS OR IMPLIED
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WARRANTY OR REPRESENTATION (INCLUDING ANY IMPLIED WARRANTY OF MERCHANTABILITY OR
FITNESS FOR PARTICULAR PURPOSE) THAT THOSE PRODUCTS AND SERVICES WILL SO AVERT OR
MINIMIZE SUCH OCCURRENCES OF EVENTS, OR THEIR CONSEQUENCES.

10. Waiver of Subrogation
You should protect against any risk of loss with the appropriate insurance coverage, and you are responsible
for obtaining all insurance coverage you believe is necessary. TO THE FULLEST EXTENT PERMITTED BY
APPLICABLE LAW AND THE APPLICABLE POLICY OR POLICIES OF INSURANCE YOU OBTAIN AND
MAINTAIN, YOU RELEASE KYTCH AND ITS LICENSORS AND SUPPLIERS FROM ALL LIABILITY FOR ANY
LOSS, OCCURRENCE, EVENT OR CONDITION COVERED BY YOUR INSURANCE.

11. Limitation of Liability
Nothing in these Terms and, in particular, within this “Limitation of Liability” clause, shall be interpreted or
construed to limit or exclude liability that cannot be so limited or excluded under applicable law.

TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, IN ADDITION TO THE WARRANTY AND
OTHER DISCLAIMERS IN THESE TERMS, IN NO EVENT WILL (A) KYTCH BE LIABLE FOR ANY INDIRECT,
CONSEQUENTIAL, PUNITIVE, EXEMPLARY, SPECIAL OR INCIDENTAL DAMAGES, INCLUDING, WITHOUT
LIMITATION, ANY DAMAGES FOR LOST DATA OR LOST PROFITS ARISING FROM OR RELATING TO THE
SERVICES OR THE PRODUCTS, EVEN IF KYTCH KNEW, OR SHOULD HAVE KNOWN, OF THE POSSIBILITY
OF SUCH DAMAGES, AND (B) KYTCH’S TOTAL CUMULATIVE LIABILITYARISING FROM OR RELATED TO
THE SERVICES OR THE PRODUCTS, WHETHER IN CONTRACT OR TORT OR OTHERWISE, SHALL BE
LIMITED TO AN AMOUNT NEVER TO EXCEED THE FEES ACTUALLY PAID BY YOU TO KYTCH DURING
THE TWELVE (12) MONTH PERIOD PRECEDING THE EVENTS GIVING RISE TO THE SUBJECT CLAIM (IF
ANY). KYTCH DISCLAIMS ALL LIABILITY OF ANY KIND OF KYTCH’S LICENSORS AND SUPPLIERS. UNDER
NO CIRCUMSTANCES WILL KYTCH BE LIABLE IN ANY WAY FOR ANY CONTENT, INCLUDING, BUT NOT
LIMITED TO, ANY ERRORS OR OMISSIONS IN ANY CONTENT OR ANY LOSS OR DAMAGE OF ANY KIND
INCURRED IN CONNECTION WITH USE OF, OR EXPOSURE TO, ANY CONTENT POSTED, EMAILED,
ACCESSED, TRANSMITTED OR OTHERWISE MADE AVAILABLE VIA THE SERVICES.

YOU UNDERSTAND AND AGREE THAT THIS LIMITATION OF LIABILITY IN THIS SECTION SHALL APPLY
EVEN IF KYTCH IS FOUND LIABLE FOR ANY LOSS OR DAMAGE DUE TO BREACH OF CONTRACT,
BREACH OF EXPRESS OR IMPLIED OR LIMITED WARRANTY, NEGLIGENCE OF ANY KIND OR DEGREE,
STRICT PRODUCT LIABILITY, SUBROGATION, INDEMNIFICATION OR CONTRIBUTION, OR ANY OTHER
THEORY OF LIABILITY. HOWEVER, THIS LIMITATION OF LIABILITY SHALL NOT APPLY TO ANY WILFUL,
WANTON, INTENTIONAL OR RECKLESS MISCONDUCT OF KYTCH OR GROSS NEGLIGENCE OF KYTCH IN
THOSE STATES THAT DO NOT PERMIT LIMITATION OF LIABILITY FOR GROSS NEGLIGENCE.

12. Fees and Payment
Certain Services may be provided for a fee. You shall pay all applicable fees in connection with the Services
selected by you in accordance with the Terms and your Subscription Plan.

13. Disputes
Any dispute, controversy or claim arising out of or in connection with these Terms that relates to (a) a
Party’s breach of confidentiality obligations; (b) infringement or misappropriation of intellectual property
rights; or (c) requests for injunctive relief of any kind including, without limitation, the right of a Party to
seek a temporary restraining order, preliminary injunctive or other equitable relief to preserve the status
quo or prevent irreparable harm, shall be submitted to and finally resolved by a court of competent
jurisdiction in the State of California, Santa Clara County. Each Party hereby submits to the exclusive
jurisdiction of those courts for the purposes of any such proceeding. Each party hereby waives any claim
that any legal proceeding (including any tort claim) has been brought in an inconvenient forum or that the
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venue of that proceeding is improper. Disputes, claims or controversies other than those specified above
arising out of or relating to this Agreement (hereinafter “Arbitration Claims”) that cannot otherwise be
resolved by good faith negotiations of the Parties, shall, at the sole option of Kytch, be settled by binding
arbitration in accordance with the commercial rules of the American Arbitration Association (“AAA”) that are
then in e ect. The Parties shall attempt to agree upon the selection of a single arbitrator who is unrelated
to either Party and has demonstrable experience in the area of commercial law. In the event the Parties are
unable to select a mutually acceptable arbitrator, the arbitrator shall be appointed by the AAA, with
instruction that such selected arbitrator shall be one with at least five-years experience in commercial law.
All arbitration proceedings shall be held in Santa Clara County, California. The arbitrator’s costs shall be
borne equally by the Parties and each Party shall be responsible for its own preparation, discovery, and
internal and external costs incurred to prosecute or defend the Arbitration Claim. The prevailing Party in any
arbitration proceeding will be entitled to, in addition to any other relief granted, recover its reasonable costs
and attorney’s fees, as determined by the arbitrator. The arbitrator shall be bound by the express provisions
of this Agreement in deciding any Arbitration Claim. The determination of the arbitrator shall be final, and
except as provided by law, shall not be subject to appeal or judicial review. Any court of competent
jurisdiction may enforce any award or determination rendered by the arbitrator. The arbitrator shall not
have the authority to award damages for lost profits or consequential damages, or special, punitive, or
other exemplary damages of any sort.

TO THE FULLEST EXTENT PERMITTED BY APPLICABLE, LAW, YOU UNDERSTAND AND AGREE THAT WE
ARE EACH (A) WAIVING THE RIGHT TO A TRIAL BY JURY; (B) WAIVING THE RIGHT TO PARTICIPATE IN A
CLASS OR REPRESENTATIVE ACTION; AND (C) WAIVING THE RIGHT TO CLAIM OR RECOVER PUNITIVE
DAMAGES AGAINST THE OTHER. These Terms evidence a transaction in interstate commerce, and thus the
Federal Arbitration Act governs the interpretation and enforcement of this arbitration provision.

If, for any reason, a claim proceeds in court rather than in arbitration, we each waive our right to a jury trial.

(a) Notice of Disputes. You and Kytch agree to provide the other with notice in writing of any dispute. (“Notice
of Dispute”). The notice to Kytch should be sent to: Kytch Legal Department, 3327 Seldon Court, Fremont,
CA 94539, USA. Kytch will send notice to you at the email and/or mailing addresses associated with Your
account. Your notice to Kytch must (a) provide Your name, mailing address, and email address; (b) describe
the dispute; and (c) state the relief you are requesting.

(b) Class Action Waiver TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, YOU AND KYTCH
AGREE THAT EACH MAY BRING CLAIMS AGAINST THE OTHER ONLY IN YOUR OR ITS INDIVIDUAL
CAPACITY, AND NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY PURPORTED GROUP LITIGATION OR
PRIVATE ATTORNEY GENERAL PROCEEDING. Further, unless all a ected parties agree otherwise, the
arbitrator may not consolidate more than one person’s claims and may not otherwise preside over any form
of a representative or group proceeding. If a court decides that applicable law precludes enforcement of
any of this subsection’s limitations as to a particular claim for relief, then that claim (and only that claim)
must be severed from the arbitration and may be brought in court.

14. Digital Millennium Copyright Act
(a) If you are a copyright owner or an agent thereof and believe that any Content infringes Your copyrights,
you may submit a notification pursuant to the Digital Millennium Copyright Act (“DMCA”) by providing our
Copyright Agent with the following information in writing (see 17 U.S.C §512[c][3] for further details): (i) A
physical or electronic signature of a person authorized to act on behalf of the owner of an exclusive right
that is allegedly infringed; (ii) Identification of the copyrighted work claimed to have been infringed or, if
multiple copyrighted works at a single online site are covered by a single notification, a representative list of
such works at that site; (iii) Identification of the material that is claimed to be infringing or to be the subject
of infringing activity and that is to be removed, or access to which is to be disabled, and information
reasonably su cient to permit the service provider to locate the material; (iv) Information reasonably
su cient to permit the service provider to contact you, such as an address, telephone number and, if
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available, an electronic mail; (v) A statement that you have a good-faith belief that use of the material in the
manner complained of is not authorized by the copyright owner, its agent or the law; and (vi) A statement
that the information in the notification is accurate and, under penalty of perjury, that you are authorized to
act on behalf of the owner of an exclusive right that is allegedly infringed.

(b) Kytch’s designated Copyright Agent to receive notifications of claimed infringement is Copyright Agent
– Attention Legal, 3327 Seldon Court, Fremont, CA 94539, USA; Legal@kytch.com. For clarity, only DMCA
notices should go to the Copyright Agent; any other feedback, comments, requests for technical support
and other communications should be directed to Kytch customer service through
https://kytch.com/support/. You acknowledge that if you fail to comply with all the requirements of this
Section Your DMCA notice may not be valid.

(c) Counter-Notice. If you believe that the Content that was removed (or to which access was disabled) is not
infringing, or that you have the authorization from the copyright owner, the copyright owner’s agent or
pursuant to the law to post and use the material in Your Content, you may send a counter-notice containing
the following information to the Copyright Agent: (i) Your physical or electronic signature; (ii) Identification
of the Content that has been removed, or to which access has been disabled, and the location at which the
Content appeared before it was removed or disabled; (iii) A statement that you have a good-faith belief
that the Content was removed or disabled as a result of mistake or misidentification of the Content; and (iv)
Your name, address, telephone number and email address, a statement that you consent to the jurisdiction
of the federal court in San Francisco, California, USA and a statement that you will accept service of process
from the person who provided notification of the alleged infringement.

(d) If a counter-notice is received by the Copyright Agent, Kytch may send a copy of the counter-notice to
the original complainant informing that person that they may replace the removed Content or cease
disabling it in 10 working days. Unless the copyright owner files an action seeking a court order against the
Content provider, member or user, the removed Content may be replaced, or access to it restored, in 10 to
14 working days or more after receipt of the counter-notice, at Kytch’s sole discretion.

15. General
(a) Changes to These Terms. Kytch reserves the right to make changes to these Terms. Kytch will post notice of
changes to any one or more of the following: this page, a Site, Web Apps, or Mobile Apps. You should
ensure that you have read and agree with the most recent Terms when you use the Products and Services.
Continued use of the Products and Services following notice of such changes shall indicate Your
acknowledgment of such changes and agreement to be bound by the revised Terms. IF YOU DO NOT
AGREE WITH ANY OF THE CHANGES TO ANY OF THE TERMS, YOU SHOULD DISCONNECT YOUR
PRODUCTS FROM YOUR ACCOUNT AND CEASE ACCESSING OR USING THE PRODUCTS AND SERVICES
AND RETURN THE PRODUCT AS SET FORTH IN THESE TERMS.

(b) Governing Law. These Terms, and the Agreement and any claim, dispute, action, cause of action, issue, or
request for relief arising out of or relating to these Terms or Your use of the Products and Services shall be
governed by the laws of the State of California without giving e ect to any conflict of laws principles that
may provide the application of the law of another jurisdiction. The courts in some states and countries may
not apply California law to some types of dispute. If you reside in one of those states or countries, then
where California law is excluded from applying, Your state’s or country’s laws will apply. TO THE FULLEST
EXTENT PERMITTED BY APPLICABLE LAW, YOU AGREE TO SUBMIT TO THE PERSONAL JURISDICTION
OF THE STATE AND FEDERAL COURTS IN OR FOR SANTA CLARA COUNTY, CALIFORNIA FOR THE
PURPOSE OF LITIGATING ALL SUCH CLAIMS OR DISPUTES, UNLESS SUCH CLAIM OR DISPUTE IS
REQUIRED TO BE ARBITRATED AS SET FORTH IN AN ABOVE SECTION.

(c) Protection of Confidentiality and Intellectual Property Rights. Notwithstanding the foregoing, Kytch may seek
injunctive or other equitable relief to protect its confidential information and intellectual property rights or
to prevent loss of data or damage to its servers in any court of competent jurisdiction and You agree that
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Kytch may do so without the need to post bond or other surety.

(d) Entire Agreement/Severability. These Terms and the Agreement constitute the entire agreement between
you and Kytch regarding the use of the Products and Services. Any failure by Kytch to exercise or enforce
any right or provision of these Terms shall not operate as a waiver of such right or provision. The section
titles in these Terms are for convenience only and have no legal or contractual e ect. If any provision of
these Terms is, for any reason, held to be invalid or unenforceable, the other provisions of these Terms will
be unimpaired and the invalid or unenforceable provision will be deemed modified so that it is valid and
enforceable to the maximum extent permitted by law. Neither party is an agent or partner of the other
party.

(e) Survivability. The obligations in these Terms which would naturally survive termination or expiration shall
survive, including, without limitation, Sections 1(g) and (q), 3(d) and (e), 4, 6, 7, 8, 9, 10, 11, 13 and 15.

(f) Assignment. These Terms, and any associated rights or obligations, may not be assigned or otherwise
transferred by you without Kytch’s prior written consent. These Terms may be assigned by Kytch without
restriction. These Terms are binding upon any permitted assignee.

(g) Notifications. Kytch may provide notifications to you as required by law, or for marketing or other
purposes, via (at its option) email to the primary email associated with Your Account, mobile notifications,
hard copy or posting of such notice on www.Kytch.com. Kytch is not responsible for any automatic filtering
that you or Your network provider may apply to email notifications. Kytch recommends adding @kytch.com
email addresses to Your email address book to help ensure that you receive email notifications from Kytch.
You agree and warrant that You have provided the correct contact information and will keep Kytch updated
should that information change. Kytch shall not be responsible for notices not received by You.

(h) Disclosures. Kytch’s address is 3327 Seldon Court, Fremont, CA 94539, USA. If you are a resident of
California, you may report complaints to the Complaint Assistance Unit of the Division of Consumer Services
of the California Department of Consumer A airs by contacting them, in writing, at 400 R Street,
Sacramento, CA 95814, USA, or by telephone on (800) 952-5210.

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holders. You are not permitted to use any of the Marks without the applicable prior written consent of
Kytch or such respective holders. Kytch reserves the right to alter product and services o erings,
specifications and pricing at any time, without notice, and is not responsible for typographical or graphical
errors that may appear in this or in related documents.

(j) Third Party Rights. Except as expressly set forth herein, nothing in this Agreement shall be construed as
giving any person or entity, other than the parties hereto and their successors and permitted assigns, any
right, remedy or claim under or in respect of this Agreement or any provision hereof.

(k) No Agency. Nothing contained in this Agreement will be deemed to create any agency, joint venture,
partnership or similar relationship between the parties to this Agreement. Nothing contained in this
Agreement will be deemed to authorize either party to this Agreement to bind or obligate the other party.
Kytch is an independent contractor, and neither Kytch nor its employees are, or shall be deemed, Your
employees.

(l) Force Majeure. Kytch will not be liable or responsible for any failure to perform, or delay in performance of,
any of our obligations under a contract that is caused by an act or event beyond our reasonable control,
including without limitation acts of God, strikes, lock-outs or other industrial action by third parties, civil
commotion, riot, terrorist attack, war, fire, explosion, storm, flood, earthquake, epidemic or other natural
disaster, failure of public or private telecommunications networks or impossibility of the use of railways,
shipping, aircraft, motor transport or other means of public or private transport.

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